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                 Exhibit A
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Case Name                                                  Case No.
Yudy Reynaldo Alvarez v. Maxim Healthcare Services, Inc.   1:15-cv-2922
Cassandra N. Andrews v. Maxim Healthcare Services, Inc.    1:15-cv-2700
Tanya Bailey v. Maxim Healthcare Services, Inc.            1:15-cv-3899
Lucille Banks v. Maxim Healthcare Services, Inc.           1:15-cv-1508
Cara M. Baxter v. Maxim Healthcare Services, Inc.          1:15-cv-2863
Marie Beard v. Maxim Healthcare Services, Inc.             1:15-cv-3598
Jocelyne Bertrand v. Maxim Healthcare Services, Inc.       1:15-cv-2696
Geraldine Blue v. Maxim Healthcare Services, Inc.          1:15-cv-3565
Dian N. Boyd v. Maxim Healthcare Services, Inc.            1:15-cv-2844
Angela Brown v. Maxim Healthcare Services, Inc.            1:15-cv-2705
Stacie Brown v. Maxim Healthcare Services, Inc.            1:15-cv-3599
Sharon Bunch v. Maxim Healthcare Services, Inc.            1:15-cv-2704
Diane Byrd v. Maxim Healthcare Services, Inc.              1:15-cv-2788
Sofia E. Cabrera v. Maxim Healthcare Services, Inc.        1:15-cv-2780
Denise Cadet v. Maxim Healthcare Services, Inc.            1:15-cv-2707
Tiffany Calhoun v. Maxim Healthcare Services, Inc.         1:15-cv-2765
Cecilia Campbell v. Maxim Healthcare Services, Inc.        1:15-cv-2867
Christy G. Carter v. Maxim Healthcare Services, Inc.       1:15-cv-2868
Nijhia Carter v. Maxim Healthcare Services, Inc.           1:15-cv-2869
Sherrelle Carter v. Maxim Healthcare Services, Inc.        1:15-cv-2923
Kenneth Cates v. Maxim Healthcare Services, Inc.           1:15-cv-2889
Indoor Causey v. Maxim Healthcare Services, Inc.           1:15-cv-3906
Melinda K. Chrismon v. Maxim Healthcare Services, Inc.     1:15-cv-2870
Magdalene A. Cobblah v. Maxim Healthcare Services, Inc.    1:15-cv-2860
Cheryl Cockrell v. Maxim Healthcare Services, Inc.         1:15-cv-2708
Charleen Cooper v. Maxim Healthcare Services, Inc.         1:15-cv-3600
Dejuana Covington v. Maxim Healthcare Services, Inc.       1:15-cv-2709
Linda Crawford v. Maxim Healthcare Services, Inc.          1:15-cv-3844
Bridgette Davis v. Maxim Healthcare Services, Inc.         1:15-cv-3595
Jeffrey L. Davis v. Maxim Healthcare Services, Inc.        1:15-cv-2710
Katrina D. Davis v. Maxim Healthcare Services, Inc.        1:15-cv-2790
Monique Davis v. Maxim Healthcare Services, Inc.           1:15-cv-3596
Timothy Dawson v. Maxim Healthcare Services, Inc.          1:15-cv-2702
LaTasha M. Dotson v. Maxim Healthcare Services, Inc.       1:15-cv-2711
Nina Eley v. Maxim Healthcare Services, Inc.               1:15-cv-3917
Beatrice Bezer v. Maxim Healthcare Services, Inc.          1:15-cv-2890
Aroune Etienne v. Maxim Healthcare Services, Inc.          1:15-cv-1523
Ronda L. Fields v. Maxim Healthcare Services, Inc.         1:15-cv-3634
Sherial Flamer v. Maxim Healthcare Services, Inc.          1:15-cv-2070
Michelle Ford v. Maxim Healthcare Services, Inc.           1:15-cv-3895
Linda D. Galloway v. Maxim Healthcare Services, Inc.       1:15-cv-2871
Quantia Y. Griswold v. Maxim Healthcare Services, Inc.     1:15-cv-2774
Alphadeesha Hamilton v. Maxim Healthcare Services, Inc.    1:15-cv-3635
Viodelda Harris v. Maxim Healthcare Services, Inc.         1:15-cv-3043
Quinsetta Harvey v. Maxim Healthcare Services, Inc.        1:15-cv-3045
Lucia D. Hernandez v. Maxim Healthcare Services, Inc.      1:15-cv-2798
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Case Name                                                     Case No.
Maritza Hernandez Rivas v. Maxim Healthcare Services, Inc.    1:15-cv-3050
Angela D. Hinkins-Heggs v. Maxim Healthcare Services, Inc.    1:15-cv-2756
Erica Holloman v. Maxim Healthcare Services, Inc.             1:15-cv-3047
Loretta Holloman v. Maxim Healthcare Services, Inc.           1:15-cv-2717
Dana Lynn Hurlburt v. Maxim Healthcare Services, Inc.         1:15-cv-2715
Jacob Huttsell v. Maxim Healthcare Services, Inc.             1:15-cv-3553
Yuleikys Ibarra Gonzalez v. Maxim Healthcare Services, Inc.   1:15-cv-2891
Carmen Aguilar Iglesias v. Maxim Healthcare Services, Inc.    1:15-cv-3048
Christina Jackson v. Maxim Healthcare Services, Inc.          1:15-cv-2764
Elizabeth A. Jackson v. Maxim Healthcare Services, Inc.       1:15-cv-2718
Pamela Jackson v. Maxim Healthcare Services, Inc.             1:15-cv-3569
Takiyah Y. Jakes v. Maxim Healthcare Services, Inc.           1:15-cv-2843
Renee M. James v. Maxim Healthcare Services, Inc.             1:15-cv-3636
Pernel Jamison v. Maxim Healthcare Services, Inc.             1:15-cv-2845
Sharice Javies v. Maxim Healthcare Services, Inc.             1:15-cv-2767
Denise Jean Louis v. Maxim Healthcare Services, Inc.          1:15-cv-2750
Yadira Jimenez v. Maxim Healthcare Services, Inc.             1:15-cv-2778
Jacqueline Johnson v. Maxim Healthcare Services, Inc.         1:15-cv-2811
Arlene Jones v. Maxim Healthcare Services, Inc.               1:15-cv-1524
Candice Jones v. Maxim Healthcare Services, Inc.              1:15-cv-3601
Maxine Kelly v. Maxim Healthcare Services, Inc.               1:15-cv-2846
BiBi Khan v. Maxim Healthcare Services, Inc.                  1:15-cv-2745
Annette Kimball v. Maxim Healthcare Services, Inc.            1:15-cv-3776
Dawn King v. Maxim Healthcare Services, Inc.                  1:15-cv-3561
Thomas Kneeland v. Maxim Healthcare Services, Inc.            1:15-cv-2777
David Kurucz v. Maxim Healthcare Services, Inc.               1:15-cv-3847
Chandra D. Kyles v. Maxim Healthcare Services, Inc.           1:15-cv-3597
Dolores S. Lee v. Maxim Healthcare Services, Inc.             1:15-cv-2782
Jacqueline Leggs v. Maxim Healthcare Services, Inc.           1:15-cv-3049
LaVonda Lewis v. Maxim Healthcare Services, Inc.              1:15-cv-2872
Jennifer Lipford v. Maxim Healthcare Services, Inc.           1:15-cv-2719
Ruth C. Markey v. Maxim Healthcare Services, Inc.             1:15-cv-3570
Shirley M. Marshall v. Maxim Healthcare Services, Inc.        1:15-cv-2772
Rachel E. Martin v. Maxim Healthcare Services, Inc.           1:15-cv-2720
Chris Martino v. Maxim Healthcare Services, Inc.              1:15-cv-2754
Margaret Massey v. Maxim Healthcare Services, Inc.            1:15-cv-2721
Earnestina McNeal v. Maxim Healthcare Services, Inc.          1:15-cv-2722
Ida E. Miller v. Maxim Healthcare Services, Inc.              1:15-cv-2723
Tasha Mitchell v. Maxim Healthcare Services, Inc.             1:15-cv-3928
Brittany Moran v. Maxim Healthcare Services, Inc.             1:15-cv-2724
Juana Moreno v. Maxim Healthcare Services, Inc.               1:15-cv-2878
Maritza Munoz v. Maxim Healthcare Services, Inc.              1:15-cv-2892
Brenda J. Murphy v. Maxim Healthcare Services, Inc.           1:15-cv-2728
Heidi Neifert v. Maxim Healthcare Services, Inc.              1:15-cv-3577
April Odom v. Maxim Healthcare Services, Inc.                 1:15-cv-2881
Jen L. Olshawsky v. Maxim Healthcare Services, Inc.           1:15-cv-3851
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Case Name                                                         Case No.
Michele Pacelli v. Maxim Healthcare Services, Inc.                1:15-cv-2786
Vicky Palmer v. Maxim Healthcare Services, Inc.                   1:15-cv-3852
Remicile Paul v. Maxim Healthcare Services, Inc.                  1:15-cv-2766
Priscilla Payton v. Maxim Healthcare Services, Inc.               1:15-cv-3245
Mary Peddycord v. Maxim Healthcare Services, Inc.                 1:15-cv-3933
Leydy Perez Diaz v. Maxim Healthcare Services, Inc.               1:15-cv-2893
Catherine L. Perrini v. Maxim Healthcare Services, Inc.           1:15-cv-2768
Geraldine Pettigrew v. Maxim Healthcare Services, Inc.            1:15-cv-2904
Gladys Pierre v. Maxim Healthcare Services, Inc.                  1:15-cv-3574
Catherine Poindexter-Peairs v. Maxim Healthcare Services, Inc.    1:15-cv-3567
Elizabeth Polk v. Maxim Healthcare Services, Inc.                 1:15-cv-2735
Elisha Rainbolt v. Maxim Healthcare Services, Inc.                1:15-cv-3575
Bonnie K. Raines v. Maxim Healthcare Services, Inc.               1:15-cv-2737
Angela R. Ramirez v. Maxim Healthcare Services, Inc.              1:15-cv-2776
Pamela N. Reed v. Maxim Healthcare Services, Inc.                 1:15-cv-3608
Rose Reed v. Maxim Healthcare Services, Inc.                      1:15-cv-3902
Sally Reeves v. Maxim Healthcare Services, Inc.                   1:15-cv-2739
Elizabeth Ribeiro v. Maxim Healthcare Services, Inc.              1:15-cv-3908
Nelene Rich v. Maxim Healthcare Services, Inc.                    1:15-cv-2847
Robert Rodriguez v. Maxim Healthcare Services, Inc.               1:15-cv-3926
Angela A. Sandlin v. Maxim Healthcare Services, Inc.              1:15-cv-2924
Miyishah Sapp v. Maxim Healthcare Services, Inc.                  1:15-cv-3631
Donna Schwartz v. Maxim Healthcare Services, Inc.                 1:15-cv-1514
Nacarla Scott v. Maxim Healthcare Services, Inc.                  1:15-cv-2813
Christine Shenefield v. Maxim Healthcare Services, Inc.           1:15-cv-3632
Ursula Short v. Maxim Healthcare Services, Inc.                   1:15-cv-1511
Timothy Showell v. Maxim Healthcare Services, Inc.                1:15-cv-2771
Tasha Shupe v. Maxim Healthcare Services, Inc.                    1:15-cv-2741
Mayme Signorino v. Maxim Healthcare Services, Inc.                1:15-cv-2809
Delores Smith v. Maxim Healthcare Services, Inc.                  1:15-cv-3929
Theresa Soukoury v. Maxim Healthcare Services, Inc.               1:15-cv-2859
Margaret A. Sponhaltz v. Maxim Healthcare Services, Inc.          1:15-cv-3856
Maureen S. Stickney v. Maxim Healthcare Services, Inc.            1:15-cv-2927
Robin Stump v. Maxim Healthcare Services, Inc.                    1:15-cv-3846
Michelle Terrell v. Maxim Healthcare Services, Inc.               1:15-cv-3633
Fran R. Thames v. Maxim Healthcare Services, Inc.                 1:15-cv-2742
Crystle Thomas v. Maxim Healthcare Services, Inc.                 1:15-cv-2744
Stephanie Thomas v. Maxim Healthcare Services, Inc.               1:15-cv-2743
Wond Carter v. Maxim Healthcare Services, Inc.                    1:15-cv-2781
Danielle Toole v. Maxim Healthcare Services, Inc.                 1:15-cv-2930
Sugeilis Vallee v. Maxim Healthcare Services, Inc.                1:15-cv-2746
Cassie Vilfer v. Maxim Healthcare Services, Inc.                  1:15-cv-3782
Marie Volmidor Louis-Jacques v. Maxim Healthcare Services, Inc.   1:15-cv-2770
Janie Walker v. Maxim Healthcare Services, Inc.                   1:15-cv-3937
Ruby Walker v. Maxim Healthcare Services, Inc.                    1:15-cv-2749
Stephanie Walker v. Maxim Healthcare Services, Inc.               1:15-cv-3857
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Case Name                                                  Case No.
Kirah Watson v. Maxim Healthcare Services, Inc.            1:15-cv-3904
Ellen Weddle v. Maxim Healthcare Services, Inc.            1:15-cv-2751
Tamika Wheeler v. Maxim Healthcare Services, Inc.          1:15-cv-3793
Alma M. White v. Maxim Healthcare Services, Inc.           1:15-cv-2748
Barbara B. White v. Maxim Healthcare Services, Inc.        1:15-cv-2753
Desiree White v. Maxim Healthcare Services, Inc.           1:15-cv-3607
Melissa G. Williams v. Maxim Healthcare Services, Inc.     1:15-cv-2740
Willette Williams v. Maxim Healthcare Services, Inc.       1:15-cv-2755
Stella Wilson v. Maxim Healthcare Services, Inc.           1:15-cv-2757
Deborah A. L. Worsley v. Maxim Healthcare Services, Inc.   1:15-cv-2758
Robin Y. Yancey v. Maxim Healthcare Services, Inc.         1:15-cv-2759
Tunya Yarborough v. Maxim Healthcare Services, Inc.        1:15-cv-2761
Melissa Young v. Maxim Healthcare Services, Inc.           1:15-cv-3783
Xiomara Zaldivar v. Maxim Healthcare Services, Inc.        1:15-cv-2763
